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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF GEORGIA

SAVANNAH DIVISION C R 4? |- Q 0) 4 7

 

 

UNITED STATES OF AMERICA ) INDICTMENT NO.
)
Vv. ) 18 U.S.C. § 1001(a)(2)
) False Statement
ERIC T. NAKAMURA ) U. S. DISTRICT COURT
Southern District of Ga.
Filed in Office
THE GRAND JURY CHARGES THAT: ae
COUNTS ONE THROUGH THREE DeputyZlerk
False Statement Made to a Depariment or Agency of the United States

18 U.S.C. § 1001(a)(2)

That on multiple occasions between on or about July 20, 2020 and July 28,

2020,
ERIC T. NAKAMURA,

did willfully and knowingly make materially false, fictitious, and fraudulent
statements and representations in a matter within the jurisdiction of the executive
branch of the Government of the United States, by reporting that on July 20, 2020,
he was stabbed with a knife and robbed by an unknown person in an Army uniform
with the name tape “Brown,” to the following federal agents, on the following dates,

and at the following locations:

 

COUNT AGENT DATE LOCATION

 

Special Agent
Juan Gonzalez-Paniagua, July 20,
Army Criminal 2020

Investigation Command

Savannah, in the
Southern District of
Georgia

 

 

 

 

 

 
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Special Agent Hunter Army Airfield,
Aaron Hensley, October .
2 . in the Southern
Army Criminal 14, 2020 Lo. .
ar District of Georgia
Investigation Command
Special Agent Hunter Army Airfield,
Ewen Tesot, February |.
3 . in the Southern
Army Criminal 1, 2021 a .
-. District of Georgia
Investigation Command

 

The statements and representations were false because, as ERIC T. NAKAMURA at
those times and locations knew, on or about July 20, 2020, he had stabbed himself
with a knife, and had not been robbed.

All in violation of Title 18, United States Code, Section 1001(a)(2).

(Signatures on the next page)
Case 4:21-cr-00047-RSB-CLR Document 1 Filed 03/03/21 Page 3 of 3

 

 

A True Bill.
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TOWED
David H. Estes Darron J. Hubbard
Acting United States Attorney Special Assistant United States Attorney

*Lead Counsel

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Karl I. Knoche

Assistant United States Attorney
Chief, Criminal Division
